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                                                  U.S. Department of Justice
                                                  United States Attorney
                                                  Western District of New York
                                                                     Federal Center                       716/843-5700
                                                   138 Delaware Avenue                                fax 716/551-3052
                                                   Buffalo, New York 14202          Writer's Telephone: 716/843-5830
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                                                                                           Nicholas.Cooper@usdoj.gov
                                                   August 28, 2023
VIA ELECTRONIC MAIL
Honorable Jeremiah J. McCarthy
United States District Court
2 Niagara Square
Buffalo, New York 14202

       RE:    United States v. Gogolack
              23-MJ-1115

Dear Judge McCarthy:

       I am writing the Court to request an adjournment of the detention hearing for
defendant Simon Gogolack until August 30,2023 at 2 PM. Today, I spoke with Robert Bolm,
Esq., the attorney retained to represent Simon Gogolack. Due to medical issues facing
attorney Bolm, he represented to me on the phone that he would be unable to appear for the
detention hearing scheduled for tomorrow, August 29, 2023. Attorney Bolm informed me
that he would be able to appear on Wednesday, August 30, 2023.

       The parties conferred by phone with the Court’s staff regarding a time for August 30,
2023, and agreed upon 2 PM. The government offered to submit this letter requesting a 1-
day adjournment on behalf of attorney Bolm given his current circumstances. Speedy Trial
Time should be excluded under as a matter of law pursuant to Title 18, United States Code,
Section 3161(h)(1)(D) as the government’s motion for detention is still pending.


                                          Respectfully,

                                          TRINI E. ROSS
                                          United States Attorney
                                                                Digitally signed by Nicholas T.
                                         Nicholas T. Cooper Cooper
                                   BY:                          Date: 2023.08.28 15:20:40 -04'00'


                                          NICHOLAS T. COOPER
                                          Assistant United States Attorney
NTC
cc: Robert Bolm, Esq.
